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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION


      KEILA MARIE PENA, as Personal
      Representative of the Estate of
      KEILYAN HERNANDEZ, deceased,

                           Plaintiff,

      v.                                                  Case No: 6:23-cv-2403-GAP-UAM

      HELIDOSA AVIATION GROUP, S.A.,

                           Defendant



                                                 ORDER

             This cause came before the Court for consideration without oral argument on

      Defendant Helidosa Aviation Group, S.A.’s (“Helidosa”) Motion to Dismiss

      Plaintiff’s Amended Complaint for Lack of Personal Jurisdiction or, Alternatively,

      Forum Non Conveniens (Doc. 58). The Court has also considered the Response in

      Opposition (Doc. 76) filed by Plaintiff Keila Marie Pena (“Plaintiff”), in her capacity

      as personal representative of the estate of Keilyan Hernandez (Plaintiff’s

      “Daughter”). Additionally, the Court has considered Helidosa’s Reply (Doc. 80).

      For the reasons set forth below, the Motion will be denied.1



             1 The Court acknowledges that Plaintiff requested oral argument on this Motion. See
      Doc. 77. After reviewing the parties’ filings, however, the Court determined that oral argument
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      I.     Overview

             A.       Summary of the Facts

                 In this tragic case, Plaintiff sues Helidosa—an aircraft charterer and air

      ambulance operator—under the Montreal Convention, in relation to an airplane

      crash that caused her Daughter’s death. See Doc. 47; see also Doc. 58-1.

             In December of 2021, Jose Angel Hernandez (“Mr. Hernandez”) arranged,

      through Helidosa, round-trip air charter services from Orlando, Florida to the

      Dominican Republic for his Floridian family, including his (and Plaintiff’s)

      Daughter. 2 See Doc. 47, ¶¶ 24, 31; Doc. 58-1, ¶¶ 30, 32. Helidosa scheduled a

      Gulfstream IV aircraft (specifically, HI-1050) for the family’s return flight to

      Orlando. See Doc. 47, ¶ 32; Doc. 76-16 at 30-31. When the plane arrived in the

      Dominican Republic (from Puerto Rico), the flight crew reported an issue with the

      aircraft’s ground spoilers. Doc. 47, ¶¶ 32-33; Doc. 76-16 at 22-25. As a result,

      Helidosa’s mechanics replaced the ground spoiler actuators on the right wing, then

      towed the aircraft back to the apron for the family’s flight to Florida. Doc. 47, ¶ 34;

      Doc. 58-1, ¶¶ 27-28, 38-39; Doc. 76-16 at 26-29. The mechanics, however, improperly




      was unnecessary.

             2 At the time of her death, Plaintiff’s Daughter was a Florida resident. Doc. 47, ¶ 2;
      Doc. 58-1, ¶ 30.




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      installed the replacement spoiler actuators, which caused the right-wing ground

      spoilers to malfunction.3 Doc. 47, ¶ 37; Doc. 76-16 at 19-22, 65-67, 122-124.

             After Mr. Hernandez’s family boarded the plane, the flight crew performed

      a preflight control check, in which the crew extended the ground spoilers on both

      wings. Doc. 47, ¶ 35; Doc. 76-16 at 74-76. The ground spoilers on the right wing

      extended, but failed to retract, and the aircraft taxied for departure with the right-

      wing ground spoilers still extended. Doc. 47, ¶ 35; Doc. 76-16 at 72-76, 109.

             Following takeoff, the aircraft immediately experienced control problems,

      due to the defective right-wing ground spoilers. Doc. 47, ¶¶ 36, 38; see Doc. 76-16 at

      95. The control problems caused the flight crew to attempt an emergency landing

      at another airport in the Dominican Republic. Doc. 47, ¶¶ 38-39; Doc. 58-1, ¶ 4.

      During the emergency landing attempt, the aircraft struck the ground, which

      resulted in its destruction and the deaths of all onboard—two pilots, a flight

      attendant, Mr. Hernandez, and five members of his family. Doc. 47, ¶ 40; Doc. 58-1,

      ¶¶ 6, 29.




             3  Helidosa’s CEO conceded this point during one of his depositions. See Doc. 76-16 at 19-
      22, 65-67, 122-124.




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             B.      Summary of this Action

             Plaintiff asserts a single claim under the Montreal Convention in this action.4

      See Doc. 47. Helidosa, a Dominican company, now seeks dismissal of that claim for

      lack of personal jurisdiction, or, alternatively, forum non conveniens. See Doc. 58.

      It primarily argues that Plaintiff’s claim lacks ties to Florida and should instead be

      prosecuted in the Dominican Republic. See id.

      II.    Personal Jurisdiction

             A.      Background

                     1.     Plaintiff’s Allegations

             In her Amended Complaint, Plaintiff asserts that this Court has personal

      jurisdiction over Helidosa pursuant to §§ 48.193(1)(a)(1), 48.193(1)(a)(6)(a), and

      48.193(2) of Florida’s Long-Arm Statute and the Due Process Clause of the

      Fourteenth Amendment to the United States Constitution (the “Due Process

      Clause”). See Doc. 47, ¶ 25.




             4  The Montreal Convention “provides the exclusive cause of action to passengers who
      suffer ‘bodily injury’ caused by an ‘accident’ during ‘international carriage by air,’ within the
      meaning of Articles 1 and 17 of the Convention.” Jacob v. Korean Air Lines Co., 606 F. App’x 478, 480
      (11th Cir. 2015). This treaty is more formally known as the Convention for the Unification of Certain
      Rules for International Carriage by Air, May 28, 1999, T.I.A.S. No. 13038.

            The United States and the Dominican Republic are parties to this treaty and optional venues
      under Article 33.




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            Regarding Helidosa’s connections to Florida, Plaintiff asserts that Helidosa

      operates approximately three flights a day to and from twenty-three Florida

      destinations, accounting for twenty-six percent of Helidosa’s worldwide flights and

      generating thirty percent of its revenue. Id., ¶¶ 11-15. She alleges that “Helidosa’s

      contacts with Florida, i.e., its offers of charter flight services to and from the state,

      are related to [her] cause of action because it is precisely one of those charter flights

      to Florida” that caused her Daughter’s death. Id., ¶ 26.5

                   2.     Helidosa’s Motion to Dismiss

            Helidosa, on the other hand, contends that Florida’s Long-Arm Statute does

      not provide a sufficient basis for personal jurisdiction and that exercising

      jurisdiction over it would violate the Due Process Clause. See Doc. 58 at 16-36.

      Relying on a declaration authored by its CEO, Gonzalo A. Castillo Lopez

      (“Mr. Castillo”), Helidosa argues that this Court lacks personal jurisdiction over it

      because it: “(1) has never been registered to conduct business in Florida, (2) has no

      agents or employees in Florida, (3) has no offices in Florida, (4) owns no property

      in Florida, (5) has no bank accounts in Florida, (6) has no listed business address in

      Florida, (7) has never paid taxes in Florida, and (8) has never advertised, solicited




            5Plaintiff also includes a screenshot of Helidosa’s Facebook page, which lists a phone
      number with a Miami area code. Doc. 47, ¶ 20.




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      or marketed its services in Florida or in any other State within the United States.”

      Id. at 12 (citing Doc. 58-1, ¶¶ 14-17).

                    3.     Plaintiff’s Response

             After Helidosa filed the instant Motion, the Court granted Plaintiff leave to

      conduct jurisdictional discovery. See Doc. 65. As a result, Plaintiff supplements her

      initial jurisdictional allegations in her Response. See Doc. 76 at 3-7.

             Plaintiff adds that Mr. Hernandez was a successful music producer who

      began his business relationship with Helidosa sixteen months prior to his death. See

      id. at 3; Doc. 76-3 (first text message dated August 24, 2020). Mr. Hernandez’s

      surviving daughter, Keigelyan Hernandez, submitted a declaration stating that

      Mr. Hernandez “knew of Helidosa because [of its] Florida market presence and

      because it provided charter services in our area and for other music industry

      professionals in the U.S.”6 Doc. 76-1, ¶ 6. She asserted that Mr. Hernandez used

      Helidosa’s charter flight services approximately seventeen times, including for

      twelve trips that involved Florida airports. Id., ¶ 7. Plaintiff claims that




             6 Keigelyan Hernandez’s use of “our area” presumably refers to Florida. See 6:23-cv-2402-
      GAP-UAM, Keigelyan Hernandez v. Helidosa Aviation Group, S.A., Doc. 45, ¶¶ 2, 4 (“Mr. Hernandez
      was a resident of Lake County, Florida, at the time of his death. From Florida, Mr. Hernandez
      contracted with Helidosa to charter flights to pick up him and certain of his family members in
      Orlando, Florida and take them to the Dominican Republic for a vacation. . . . [Keigelyan]
      Hernandez is a resident of Osceola County, Florida.”).




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      Mr. Hernandez paid Helidosa more than $200,000 for these flights. See Doc. 76 at 3

      (citing WhatsApp Messages in Doc. 76-3).7

             In addition to Keigelyan Hernandez’s declaration, Plaintiff also submitted

      Mr. Castillo’s deposition testimony. See Docs. 76-4, 76-16. During his first

      deposition, Mr. Castillo explained that Helidosa began offering flights to and from

      Florida in 2011, with the United States Department of Transportation’s

      authorization. See Doc. 76-4 at 11-13. He stated that each of Helidosa’s fourteen

      planes travel to Florida once or twice a year for maintenance (amounting to twenty-

      eight trips at most) and that approximately one quarter of Helidosa’s pilots’ bi-

      annual training occurs in Florida. Id. at 29-35, 71. He also testified that, in addition

      to its direct customers (like Mr. Hernandez), Helidosa acquires indirect customers

      through (1) an online bidding platform operated by two Florida-based companies

      (Avinode, Inc. and SchedAero, Inc.) and (2) a network of brokers, a majority of

      whom have an office in Florida. See id. at 49-50, 53-54, 68-70; Docs. 76-9, 76-10.




             7  Plaintiff included reams of WhatsApp messages between Mr. Hernandez and a Helidosa
      representative with her Response, but she failed to provide a translation of the conversation, which
      occurred in Spanish. Doc. 76-3. Based on the posture of this case, the Court will accept Plaintiff’s
      statements regarding this conversation for present purposes. See Doc. 80; see also infra
      Sections II.A.4, II.B. However, the parties are directed to provide joint translations of their future
      exhibits as needed.




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            Indeed, Mr. Castillo agreed that Florida is Helidosa’s most important state,

      as more than half of Helidosa’s United States revenue comes from Florida—

      amounting to, on average, $15.8 million annually. See Doc. 76-4 at 21-22; Doc. 76-6.

            Based on these factual allegations, Plaintiff contends that Helidosa is subject

      to personal jurisdiction in Florida. See Doc. 76 at 2.

                   4.     Helidosa’s Reply

            Although Helidosa recognized that Plaintiff’s Response includes new factual

      allegations, it does not contest her statement of the facts in its Reply. See Doc. 78

      at 1; Doc. 80. Rather, Helidosa’s Reply only counters Plaintiff’s legal arguments. See

      Doc. 80.

            B.     Legal Standard

            To determine whether it has personal jurisdiction over a nonresident

      defendant, the court must engage in a two-step inquiry. First, the court considers

      whether there is a basis for jurisdiction under Florida’s Long-Arm Statute. Madara

      v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990). Second, the court decides whether

      “sufficient minimum contacts exist to satisfy the Due Process Clause . . . so that

      maintenance of the suit does not offend traditional notions of fair play and

      substantial justice.” Id. (citations and internal quotation marks omitted).

            The plaintiff bears the initial burden of alleging enough facts in her complaint

      to establish a prima facie case of personal jurisdiction. Louis Vuitton Malletier, S.A.



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      v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013). A defendant may then challenge

      personal jurisdiction in a Federal Rule of Civil Procedure (“Rule”) 12(b)(2) motion

      to dismiss and submit “affidavit evidence in support of its position.” N. Am. Sugar

      Indus., Inc. v. Xinjiang Goldwind Sci. & Tech. Co., No. 23-10126, _ F.4th _, 2025 WL

      16775, at *7 (11th Cir. Jan. 2, 2025) (citation and internal quotation marks omitted).

      When that occurs, “the burden traditionally shifts back to the plaintiff to produce

      evidence supporting jurisdiction.” Id. (citation and internal quotation marks

      omitted).

            In ruling on a Rule 12(b)(2) motion to dismiss, a court may either: “(1) hold

      an evidentiary hearing before trial to make factual findings about personal

      jurisdiction or (2) decide the motion to dismiss under a prima facie standard

      without an evidentiary hearing.” Id. (citation and internal quotation marks

      omitted). If the court applies the prima facie standard, it may neither weigh

      evidence nor make credibility determinations; instead, it “must construe all

      reasonable factual inferences in favor of the plaintiff to the extent that the plaintiff’s

      complaint and supporting evidence conflict with the defendant’s affidavits.” Id.

      (citation and internal quotation marks omitted).

            The Court will decide the instant Motion under the prima facie standard

      without an evidentiary hearing.




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           C.     Analysis

                  1.      Florida’s Long-Arm Statute

           Florida’s Long-Arm Statute sets forth both general and specific personal

    jurisdiction. See Fla. Stat. §§ 48.193(1)–(2). 8 A defendant subjects itself to general

    personal jurisdiction under Florida’s Long-Arm Statute when it engages “in

    substantial and not isolated activity within this state . . . whether or not the

    [plaintiff’s] claim arises from that activity.” Fla. Stat. § 48.193(2). “General personal

    jurisdiction is based on a defendant’s substantial activity in Florida without regard

    to where the cause of action arose.” Louis Vuitton, 736 F.3d at 1352 (applying Florida

    law). “On the other hand, specific personal jurisdiction authorizes jurisdiction over

    causes of action arising from or related to the defendant’s actions within Florida.”

    Id.; see Fla. Stat. § 48.193(1). Specific personal jurisdiction concerns a defendant’s

    contacts with Florida only to the extent that they relate to the plaintiff’s claim. Louis

    Vuitton, 736 F.3d at 1352.

           Here, Plaintiff argues that Helidosa subjected itself to both general and

    specific personal jurisdiction. First, Plaintiff alleges general personal jurisdiction

    under Fla. Stat. § 48.193(2), based on Helidosa’s substantial activity in Florida.


           8  Because the reach of Florida’s Long-Arm Statute is a question of Florida law, the Court
    must apply the statute as would the Florida Supreme Court and follow the interpretations offered
    by Florida’s District Courts of Appeal (unless there is reason to think that the Florida Supreme
    Court would hold otherwise). Id. Florida’s Long-Arm Statute “is to be strictly construed.” Id.
    (citation and internal quotation marks omitted).




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    Second, Plaintiff alleges specific personal jurisdiction: (1) under Fla. Stat.

    § 48.193(1)(a)(1), in light of Helidosa’s business in the state, and (2) under Fla. Stat.

    § 48.193(1)(a)(6)(a), due to Helidosa’s tortious conduct.

           The Court’s analysis begins and ends with Fla. Stat. § 48.193(1)(a)(1), which

    provides that a nonresident submits itself to jurisdiction in Florida “for any cause

    of action arising from . . . [o]perating, conducting, engaging in, or carrying on a

    business or business venture in this state.” Id. In its Reply, Helidosa concedes that

    it “conducts business in Florida.”9 Doc. 80 at 4. Therefore, the only issue before the

    Court is whether Plaintiff’s Montreal Convention claim arises from Helidosa’s

    business venture.

           Specific personal jurisdiction under Florida’s Long-Arm Statute requires

    “connexity,” i.e., “a direct affiliation, nexus, or substantial connection” between the

    defendant’s business activity and the plaintiff’s claim. Citicorp Ins. Brokers (Marine),

    Ltd. v. Charman, 635 So. 2d 79, 82 (Fla. 1st DCA 1994) (citation and internal quotation

    marks omitted); accord Doe (V.H.) v. Hyatt Hotels Corp., No. 23-13503, 2024 WL



           9  To establish that a nonresident was carrying on a business venture in Florida, the
    nonresident’s activities “must be considered collectively and show a general course of business
    activity in the State for pecuniary benefit.” Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 627
    (11th Cir. 1996) (citation and internal quotation marks omitted) (applying Florida law). Indeed,
    Mr. Hernandez’s transactions alone likely satisfy this standard, considering that he booked
    seventeen charter flights over a period of sixteen months—including twelve which required
    Helidosa to fly to or from Florida—and paid Helidosa more than $200,000. Cf. id. at 628 (concluding
    that sporadic marketing efforts, which generated “three to five transactions grossing an estimated
    $3,000,” qualified “as a general course of business activity in Florida for pecuniary benefit”).




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    3859882, at *1 (11th Cir. Aug. 19, 2024). In its Motion and Reply, Helidosa argues

    that Plaintiff has failed to establish a causal connection between her Montreal

    Convention claim and its activities in Florida. See Doc. 58 at 24-25; Doc. 80 at 3-5.

    Helidosa, however, reads Fla. Stat. § 48.193(1)(a)(1)’s connexity requirement too

    narrowly.

           Helidosa is in the charter aircraft services (and air ambulance) business. It

    admits that it conducts this business in Florida—in fact, it flies to Florida about three

    times each day. Mr. Hernandez knew of Helidosa because of its Florida market

    presence and because it provides charter flight services in Florida (indeed, he used

    Helidosa’s charter flight services to fly to or from Florida twelve times). The crash

    that killed Plaintiff’s Daughter occurred during his final flight bound for Orlando.

           These facts establish that there is a direct affiliation between Helidosa’s

    business activity in Florida and Plaintiff’s Montreal Convention claim.10 See Nw.

    Aircraft Cap. Corp. v. Stewart, 842 So. 2d 190, 194 (Fla. 5th DCA 2003) (finding that

    connexity existed under Fla. Stat. 48.193(1)(f) where estates brought wrongful death

    action against two charter flight operators after a plane crash killed the decedents);

    see also Saade v. Insel Air, No. 17-22003-CIV-WILLIAMS, 2019 WL 2106104, at *5 (S.D.



           10  Helidosa primarily relies on an unpublished Eleventh Circuit opinion, Hinkle v. Cirrus
    Design Corp. 775 F. App’x 545 (11th Cir. 2019), in arguing that there is no connexity here. However,
    Hinkle is readily distinguishable because, in that case, the plaintiff sued the manufacturer of his own
    airplane, which he purchased through a Virginia representative and picked up in Minnesota. Id.




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    Fla. Mar. 6, 2019) (finding that connexity existed under Fla. Stat. § 48.193(1)(a)(1)

    where the plaintiff brought suit against a commercial airline regarding an exit fee

    he was required to pay before boarding a flight in Miami). Thus, Helidosa subjected

    itself to specific personal jurisdiction in Florida pursuant to § 48.193(1)(a)(1) of

    Florida’s Long-Arm Statute.

                 2.     The Due Process Clause

          Having concluded that the reach of Florida’s Long-Arm Statute extends to

    Helidosa, the Court must now consider whether the Due Process Clause supports

    the exercise of specific personal jurisdiction here. See SkyHop Techs., Inc. v. Narra, 58

    F.4th 1211, 1228 (11th Cir. 2023). To answer this question, the court applies a three-

    part test, which examines:

          (1) whether the plaintiff’s claims “arise out of or relate to” at least one
          of the defendant’s contacts with the forum;

          (2) whether the nonresident defendant “purposefully availed” [itself]
          of the privilege of conducting activities within the forum state, thus
          invoking the benefit of the forum state’s laws; and

          (3) whether the exercise of personal jurisdiction comports with
          “traditional notions of fair play and substantial justice.”

    Louis Vuitton, 736 F.3d at 1355 (collecting cases).

          “The plaintiff bears the burden of establishing the first two prongs.” Id. If the

    plaintiff satisfies her burden, the defendant “must make a compelling case that the




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    exercise of jurisdiction would violate traditional notions of fair play and substantial

    justice.” Id. (citation and internal quotation marks omitted).

                           (a)    Plaintiff’s Montreal Convention claim arises out of and relates
                           to Helidosa’s contacts with Florida.

          Whether Plaintiff’s claim arises out of or relates to Helidosa’s contacts with

    Florida does not require direct causation. Ford Motor Co. v. Mont. Eighth Jud. Dist.

    Ct., 592 U.S. 351, 362 (2021); SkyHop Techs., 58 F.4th at 1229. Instead, courts are

    directed to “focus on the essential foundation of specific jurisdiction—whether

    there is a strong relationship among the defendant, the forum, and the litigation.”

    SkyHop Techs., 58 F.4th at 1229 (quoting Ford Motor Co., 592 U.S. at 365) (internal

    quotation marks omitted).

          As set forth above, Plaintiff has shown that there is a strong relationship

    between Helidosa, Florida, and Plaintiff’s Montreal Convention claim. 11 Supra

    Section II.C.1, see SkyHop Techs., 58 F.4th at 1229; see also Selke v. Germanwings GmbH,

    261 F. Supp. 3d 666, 674 (E.D. Va. 2017); Broadus v. Delta Air Lines, Inc., 101 F. Supp.

    3d 554, 560–61 (M.D.N.C. 2015). Accordingly, Plaintiff has met her burden as to the

    first prong.




          11   The fact that the crash occurred in the Dominican Republic does not diminish this bond.




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                        (b)     Helidosa purposely availed itself of the privilege of conducting
                        activities in Florida.

          “To support purposeful availment, the defendant must have had contacts

    with the forum that were [its] own choice and not random, isolated, or fortuitous.”

    SkyHop Techs., 58 F.4th at 1230 (quoting Ford Motor, 592 U.S. at 359) (internal

    quotation marks omitted). The defendant’s contacts must demonstrate that it

    “deliberately reached out beyond its home—by, for example, exploiting a market in

    the forum State or entering a contractual relationship centered there.” Ford Motor,

    592 U.S. at 359 (citation, internal quotation marks, and alteration omitted).

          Plaintiff has plainly established that Helidosa purposely availed itself of this

    forum, considering that: (1) its aircraft land on Florida soil three times each day;

    (2) it derives thirty percent of its revenue from Florida; and (3) its CEO testified that

    Florida is Helidosa’s most important state. Based on these facts, Helidosa’s

    argument that it did not reasonably expect to be hauled into court in Florida is

    unavailing. See Doc. 58 at 33-35.

                        (c)    Helidosa has not made a compelling case that the exercise of
                        jurisdiction would violate traditional notions of fair play and
                        substantial justice.

          The burden now shifts to Helidosa, which must make a compelling case that

    the exercise of jurisdiction is improper. See SkyHop Techs., 58 F.4th at 1231. Courts

    “ordinarily consider four factors to resolve this inquiry: the burden on the

    defendant; the forum’s interest in adjudicating the dispute; the plaintiff’s interest in


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    obtaining convenient and effective relief; and the judicial system’s interest in

    resolving the dispute.” Id. (citation and internal quotation marks omitted).

           Simply put, Helidosa has failed to show that the exercise of jurisdiction

    would violate traditional notions of fair play and substantial justice. Any

    inconvenience Helidosa might face due to litigating here is outweighed by:

    (1) Florida’s interest in adjudicating this dispute, which relates to the deaths of

    Florida residents; (2) Plaintiff’s interest in obtaining expeditious, convenient, and

    effective relief; and (3) the judicial system’s interest in efficiency.

           For the reasons set forth above, Helidosa’s Rule 12(b)(2) Motion is due to be

    denied because the Court has specific personal jurisdiction over this case.

    III.   Forum Non Conveniens

           A.    Background

           Helidosa also moves to dismiss this action under the doctrine of forum non

    conveniens. See Doc. 58 at 36-49. Helidosa argues that a Florida trial would be

    inconvenient because: (1) Helidosa is an Dominican company; (2) the underlying

    accident and “all of the alleged wrongful acts of Helidosa” occurred in the

    Dominican Republic; (3) the accident was investigated by the Comision

    Investigadora de Accidentes de Aviacion (the aviation accident investigation

    authority of the Dominican Republic); (4) “virtually all witnesses, documentation,

    materials, and evidence related to liability, including the aircraft wreckage” are



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    located in the Dominican Republic; and (5) the aircraft at issue was “registered,

    inspected, and maintained” in the Dominican Republic. Id. at 37.

          On the other hand, Plaintiff argues that the Dominican Republic is not an

    available alternative forum, that her choice of forum is entitled to substantial

    deference, and that there is, in fact, very little relevant evidence in the Dominican

    Republic. See Doc. 76 at 27-45.

          B.     Legal Standard

          Under the common law doctrine of forum non conveniens, the court “may

    decline to exercise its jurisdiction when a foreign forum is better suited to adjudicate

    the dispute.” Fresh Results, LLC v. ASF Holland, B.V., 921 F.3d 1043, 1048 (11th Cir.

    2019). Because this power “effectively deprives the plaintiff of [her] favored forum,”

    it should not be exercised lightly. Kolawole v. Sellers, 863 F.3d 1361, 1369 (11th Cir.

    2017). Consequently, the defendant “bears the burden of justifying dismissal.” Fresh

    Results, 921 F.3d at 1048. “To satisfy this burden, the defendant must establish that

    (1) an adequate alternative forum is available, (2) the public and private factors

    weigh in favor of dismissal, and (3) the plaintiff can reinstate [her] suit in the

    alternative forum without undue inconvenience or prejudice.” Id. at 1048–49

    (citation and internal quotation marks omitted).




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          C.     Analysis

          As a “threshold matter, a court should not dismiss an action for forum non

    conveniens unless there is an adequate and available alternative forum.” Otto

    Candies, LLC v. Citigroup, Inc., 963 F.3d 1331, 1338 (11th Cir. 2020). Because Plaintiff

    concedes that Dominican Republic is an ”adequate” alternative forum, the Court

    need only consider whether it is “available.” See Doc. 76 at 29.

          “An alternative forum is ‘available’ to the plaintiff when the foreign court can

    assert jurisdiction over the litigation sought to be transferred.” Leon, 251 F.3d at

    1311. “Ordinarily, the requirement of an available forum will be satisfied when

    the defendant is amenable to process in the other jurisdiction.” Tazoe v. Airbus

    S.A.S., 631 F.3d 1321, 1330 (11th Cir. 2011) (quoting Piper Aircraft Co. v. Reyno, 545

    U.S. 235, 254 n.22 (1981)) (cleaned up).

          In its Motion, Helidosa argues that the Dominican Republic is an available

    forum because it agrees to: (1) accept service in the Dominican Republic; (2) consent

    to jurisdiction in the Dominican Republic; and (3) waive any timeliness defense if

    Plaintiff re-files this action within six months of its dismissal. See Doc. 58 at 39-40.

    Relying on “DR attorney and law expert” Lucas Guzmán’s (“Mr. Guzmán”)

    declaration, Helidosa asserts that Dominican Republic “courts have jurisdiction

    over Plaintiff’s claim” and that the “two-year limitations period” set forth in

    Article 35 of the Montreal Convention will not preclude an action in the Dominican



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    Republic, “as Plaintiff already timely commenced her cause of action.” Id. (citing

    Doc. 58-2, ¶¶ 9, 32-33, 37-44).

           Plaintiff contends, however, that a Dominican Republic court may refuse to

    exercise jurisdiction over her claim pursuant to a French Supreme Court decision

    and that Article 35 will indeed bar it. See Doc. 76 at 28-32. To support her arguments,

    Plaintiff submits a declaration authored by Professor Keith S. Rosenn (“Prof.

    Rosenn”), who specializes in Latin American and Comparative Law. See Doc. 76-15.

           In its Reply, Helidosa refutes Plaintiff’s argument regarding French

    precedent—but not Article 35.12 Doc. 80 at 9-10.

           Article 35(1) of the Montreal Convention states: “The right to damages shall

    be extinguished if an action is not brought within a period of two years, reckoned

    from the date of arrival at the destination, or from the date on which the aircraft

    ought to have arrived, or from the date on which the carriage stopped.”

    See Convention for Int’l Carriage by Air art. 35(1), May 28, 1999, T.I.A.S. No. 13038.

    In the United States, there appears to be an open question of treaty interpretation

    regarding whether, in light of this action, Article 35’s two-year limitations period

    would be satisfied if Plaintiff re-filed her claim in the Dominican Republic. 13


           12 By abandoning this argument in its Reply, Helidosa implicitly concedes that Article 35
    impacts the Dominican Republic’s availability.

           13 Compare von Schoenebeck v. Koninklijke Luchtvaart Maatschappij N.V., 659 F. App’x 392, 393–
    94 (9th Cir. 2016) (“[T]he Montreal Convention clearly bars ‘any action for damages’ brought after
    the ‘period of two years[.]’”) with In re Air Crash Off Long Island, N.Y., on July 17, 1996, 65 F. Supp.


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    But, Helidosa has failed to sufficiently brief this complex issue in its Motion and

    Reply. See Docs. 58, 80.

           Ultimately, however, that question would be for a Dominican Republic court

    to decide. Therefore, the Court looks to Mr. Guzmán and Prof. Rosenn’s

    declarations for guidance. Although Mr. Guzmán acknowledges that the two-year

    limitations period set forth in Article 35 applies to Plaintiff’s claim, his analysis

    hinges on various Dominican Republic Civil Code provisions, which appear to have

    no relation to treaty limitations periods. See Doc. 58-2, ¶¶ 37, 41-44. Alternatively,

    Prof. Rosenn states:

                  In the Dominican Republic there is not any known or recognized
           tolling of a prescription period found within a treaty, and as many
           jurisdictions have found, such prescription periods are often seen as
           jurisdictional, and they cannot be waived or tolled. The Dominican
           Republic is likely to apply the same rule.

    Doc. 76-15, ¶¶ 21-22. Considering that Plaintiff’s sole claim is brought under the

    Montreal Convention, the Court credits Prof. Rosenn’s unrebutted testimony. See

    supra n.12.

           As set forth above, Helidosa bears the burden of justifying dismissal, which

    includes establishing that an alternative forum is available. Because Helidosa has




    2d 207, 215 (S.D.N.Y. 1999) (concluding that France was an adequate and available alternative
    forum, in part because plaintiffs satisfied a substantively identical provision in the Montreal
    Convention’s predecessor “by timely filing their claims in the United States”).




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    failed to demonstrate that Article 35 of the Montreal Convention would not bar

    Plaintiff’s claim if she re-filed it in the Dominican Republic, its Motion to Dismiss

    for Forum Non Conveniens is doomed.14

    IV.    Conclusion

           In short, the Court has specific personal jurisdiction over this case and refuses

    to dismiss it pursuant to the doctrine of forum non conveniens.




           14Based on this conclusion, the Court need not reach Plaintiff’s argument regarding French
    precedent, nor weigh the public and private interest factors.

            Nevertheless, the Court notes that the public and private interest factors weigh in Plaintiff’s
    favor. See Otto Candies, 963 F.3d at 1338 (summarizing the relevant interests). The parties seem to
    largely agree on the cause of the crash; therefore, it is unlikely that they will need to produce a
    substantial amount of liability-related evidence from the Dominican Republic. See supra Section I.A
    (citing Doc. 76-16 at 19-31, 65-67, 72-76, 122-124). Additionally, Florida has a significant interest in
    this dispute because it involves the deaths of Florida residents, trial will not impose a significant
    administrative burden on this Court, and this case will generally involve interpreting the Montreal
    Convention—not applying foreign law.

            Simply put, Helidosa has neither presented “positive evidence of unusually extreme
    circumstances” nor “thoroughly convinced” the Court that “material injustice is manifest”; thus,
    the Court lacks discretion “to deny a United States citizen access to the courts of this country.” SME
    Racks, Inc. v. Sistemas Mecanicos Para Electronica, S.A., 382 F.3d 1097, 1101–02 (11th Cir. 2004)
    (citation and internal quotation marks omitted) (collecting cases).




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          Accordingly, it is hereby ORDERED that Helidosa’s Motion to Dismiss

    Plaintiff’s Amended Complaint for Lack of Personal Jurisdiction or, Alternatively,

    Forum Non Conveniens (Doc. 58) is DENIED.

          DONE and ORDERED in Chambers, Orlando, Florida on January 29, 2025.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party




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